Case 2:01-cv-05397-JAG-MCA Document 152 Filed 01/18/07 Page 1 of 1 PagelD: 2631

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January 17, 2007

VIA FEDERAL EXPRESS

The Honorable Joseph A. Greenaway, Jr. ae POET EN PEN

U.S. District Court for the Eastern CPV ELL
District of Pennsylvania

MLKing, Jr. Federal Building and U.S. Courthouse JAN | 8 2007

50 Walnut Street

Newark, NJ 07101 JOSEPH A GREENAWAY, JF

United States Dis trict Judg )
RE; National Fertilizers Limited v. Vepuri
Civil Action No. 01-5397 (JAG)

Dear Judge Greenaway:

This firm represents the defendants Murty Vepuri and Varalaxmi Vepuri in the above-
referenced matter. I am in receipt of Mr. Doyle’s December 27, 2006 correspondence in this
matter. As an initial matter, while I have no objection to Mr. Doyle writing to the Court to
request scheduling on the defendant’s Motion to Stay Execution, I do object to counsel’s ex parte
submission to the Court insofar as it touches substantive issues. Mr. Doyle’s recitation of the
facts of this case has no relevance to the Motion at hand, and appears to be little more than a
transparent attempt to prejudice the Court against my client’s Motion. Although the plaintiff
seeks to blame my clients for a host of problems, it is clear that the current dilemma is one of the
plaintiffs own making, It is the plaintiff, not the defendants, who chose to file a post-trial
motion seeking additional pre-judgment interest. The current procedural “Catch 22” the parties
find themselves in is attributable solely to the plaintiff's Post-Trial Motion. Even now, ali the
delays thai plaintiff complains of could be alleviated if it withdrew its Post-Trial Motion.

Notwithstanding our objections to the prejudicial portions of .Mr. Doyle’s
correspondence, we are in agreement that the defendants’ Motion for Stay of Execution should
be scheduled before Your Honor at the Court’s convenience. 1 thank the Court for its attention in
this matter. ] am available to answer any questions the Court may have.

     

Axthony P. Tabasso

ce: Paul F, Doyle, Esquire

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